                         Case 2:23-bk-00373-FMD            Doc 70      Filed 07/18/23      Page 1 of 1
                        UNITED STATES BANKRUPTCY COURT
                           MIDDLE DISTRICT OF FLORIDA


                                          PRO MEMO

                                                                07/18/2023 01:30 PM
                                                                COURTROOM Room 4-102
HONORABLE CARYL DELANO
CASE NUMBER:                                                    FILING DATE:
2:23-bk-00373-FMD                        11                       04/02/2023
Chapter 11
DEBTOR:                 H2O Investment Properties LLC


DEBTOR ATTY:           Jennifer Duffy
TRUSTEE:               Michael Markham
HEARING:
Amended Motion for Prospective Relief from Stay. (Verify Payment of Filing Fee on Previous Motion). Re: 30620 SW ROSE LN,
                     WILSONVILLE, OR 97070. OR IN THE ALTERNATIVE MOTION FOR RELIEF FROM THE AUTOMATIC
                     STAY PURSUANT TO 11 U.S.C. § 362(D)(1)/REQUEST FOR ADEQUATE PROTECTION Filed by
                     Melbalynn Fisher on behalf of Creditor BCMB1 Trust (related document(s)[48]). (Fisher, Melbalynn) Doc
                     #52
- Objection to Amended BCMB1 Trust's Motion for Prospective Relief from the Automatic Stay Pursuant to 11 U.S.C. §
                     362(D)(4)(A) or in the Alternative Motion for Relief from the Automatic Stay Pursuant to 11 U.S.C. §
                     362(D)(1)/Request for Adequate Protection Filed by Christian G Haman on behalf of Debtor H2O
                     Investment Properties LLC (related document(s)[52]). (Haman, Christian) Doc #59

APPEARANCES:: Mike Dal Lago, Michael Markham, Melbalynn Fisher, Ben Lambers

WITNESSES:

EVIDENCE:

RULING:
Amended Motion for Prospective Relief from Stay. (Verify Payment of Filing Fee on Previous Motion). Re: 30620 SW ROSE LN,
WILSONVILLE, OR 97070. OR IN THE ALTERNATIVE MOTION FOR RELIEF FROM THE AUTOMATIC STAY PURSUANT TO
11 U.S.C. § 362(D)(1)/REQUEST FOR ADEQUATE PROTECTION Filed by Melbalynn Fisher on behalf of Creditor BCMB1 Trust
(related document(s)[48]). (Fisher, Melbalynn) Doc #52 - Continued to 8/16/2023 at 10:30 am, Stay remains in effect O/Dal Lago

- Objection to Amended BCMB1 Trust's Motion for Prospective Relief from the Automatic Stay Pursuant to 11 U.S.C. §
362(D)(4)(A) or in the Alternative Motion for Relief from the Automatic Stay Pursuant to 11 U.S.C. § 362(D)(1)/Request for
Adequate Protection Filed by Christian G Haman on behalf of Debtor H2O Investment Properties LLC (related document(s)[52]).
(Haman, Christian) Doc #59
Proposed Orders, if applicable, should be submitted within three days after the date of the hearing - Local Rule 9072-1(c). Orders
not submitted by the time of closing will result in motions/objections/applications being denied as moot. This docket
entry/document is not an official order of the Court.


                                  Case Number 2:23-bk-00373-FMD                      Chapter 11
